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18                                   UNITED STATES DISTRICT COURT
19                              EASTERN DISTRICT OF CALIFORNIA
20
      JUAN ROMERO, individually, and on behalf         Case No. 1:23-cv-00427-DJC-JDP
21    of all others similarly situated,
                                                       JOINT STATUS REPORT;
22                      Plaintiff,                     STIPULATION AND ORDER TO
                                                       MAINTAIN STAY PENDING FINAL
23           v.                                        SETTLEMENT APPROVAL
24    SAPUTO DAIRY FOODS USA, LLC, a                   Complaint Filed: February 2, 2023
      Delaware limited liability corporation; and
25    DOES 1 through 10, inclusive,
26                      Defendants.
27

28                                                             JOINT STATUS REPORT; STIPULATION TO
                                                                      MAINTAIN STAY PENDING FINAL
                                                                             SETTLEMENT APPROVAL
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 1    TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2             Defendant Saputo Dairy Foods USA, LLC (“Saputo” or “Defendant”) and Plaintiff Juan

 3    Romero (“Romero” or “Plaintiff”) (collectively, the “Parties”), by and through their respective

 4    attorneys of record, submit the following Joint Status Report and Stipulation.

 5                                         STATUS OF LAWSUIT

 6             1.    On November 26, 2024, the Court entered the Parties’ stipulation to maintain the

 7    stay of this action pending final approval of a global settlement that includes this action (“Global

 8    Settlement”), which the Parties are currently pursuing through the related action Martinez v.

 9    Saputo Dairy Foods USA, LLC, Case No. VCU294960 (Tulare Cnty. Sup. Ct.) (“Martinez PAGA

10    Action”), and ordered the Parties to file a joint status report within fourteen days after the hearing

11    on the Parties’ Motion for Final Approval of the Global Settlement (the “Final Approval

12    Hearing”). (See ECF No. 32.)

13             2.    On February 10, 2025, the Parties appeared for the Final Approval Hearing in the

14    Martinez PAGA Action. The Court heard additional argument regarding Plaintiffs’ request for

15    attorneys fees and took the Motion for Final Approval under submission. As of the filing of this

16    status report, the Court has not yet issued a decision on the Motion for Final Approval.

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28                                                                    JOINT STATUS REPORT; STIPULATION TO
                                                                             MAINTAIN STAY PENDING FINAL
                                                       -2-                          SETTLEMENT APPROVAL
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 1                                              STIPULATION

 2       IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:

 3              1.   This action shall remain stayed pending final approval of the Global Settlement

 4    through the Martinez PAGA Action, Case No. VCU294960 (Tulare Cnty. Sup. Ct.).

 5              2.   In the event the court does not grant final approval of the Global Settlement in the

 6    Martinez PAGA Action, the Parties shall return to status quo as existed before this action was

 7    stayed.

 8              3.   The Parties will file a joint status report within fourteen days of a decision on the

 9    Motion for Final Approval of the Global Settlement in the Martinez PAGA Action.

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11       IT IS SO STIPULATED.

12

13     Dated: February 24, 2025                    JONES DAY

14
                                                   By: /s/ Koree B. Wooley
15                                                 Koree B. Wooley
16                                                 Attorneys for Defendant SAPUTO DAIRY
                                                   FOODS USA, LLC
17

18     Dated: February 24, 2025
                                                   BLUMENTHAL NORDREHAUG BHOWMIK DE
                                                   BLOUW, LLP
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20                                                 By: /s/ Jeffrey S. Herman (as authorized on 2/24/25)
                                                   Jeffrey S. Herman
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                                                   Attorneys for Plaintiff JUAN ROMERO
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28                                                                   JOINT STATUS REPORT; STIPULATION TO
                                                                            MAINTAIN STAY PENDING FINAL
                                                      -3-                          SETTLEMENT APPROVAL
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 1                                              ORDER

 2          Having considered the Joint Stipulation between all Parties, and good cause appearing,

 3          IT IS SO ORDERED.

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 5    Dated: February 25, 2025                     /s/ Daniel J. Calabretta
                                                   THE HONORABLE DANIEL J. CALABRETTA
 6
                                                   UNITED STATES DISTRICT JUDGE
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28                                                               JOINT STATUS REPORT; STIPULATION TO
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                                                   -4-                         SETTLEMENT APPROVAL
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